The plaintiff in error, hereinafter called defendant, was convicted in the district court of Comanche county of forgery in the second degree in passing a forged check which was negotiated to Lewis and Allen, who operated a filling station at Lawton. We deem it unnecessary to recite the facts. They are very similar to those proven in the case of Reniff v. State,53 Okla. Cr. 448, 13 P.2d 592, just decided, the same defendant as here.
Complaint is made that the court permitted too great a latitude in the cross-examination of defendant's witnesses which tended to prejudice the jury against him. There is some merit in the contention, and we are of the opinion that justice will be served by reducing the punishment assessed to a term of two years in the state penitentiary, and, as modified, the case is affirmed. *Page 451 